8:08-cr-00151-LSC-FG3         Doc # 134   Filed: 06/22/09    Page 1 of 1 - Page ID # 267




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,  )                     CASE NO. 8:08CR151
                           )
             Plaintiff,    )
                           )                            ORDER
             vs.           )
                           )
OSCAR COLMENARES-GONZALEZ, )
                           )
             Defendant.    )

      This matter is before the Court on the government’s unopposed motion for release

of material witnesses (Filing No. 126).

      IT IS ORDERED:

      1.     The government’s motion for release of material witnesses (Filing No. 126)

             is granted;

      2.     The U.S. Marshal is ordered to release material witnesses Jorge Herrera-

             Cortes, Celso Antonio Lara-Martinez, Noe Alberto Espinoza-Solis, John

             Herrera-Cortez, Angel Garcia-Castillo, Jose Trinidad Tinoco-Delgado, and

             Maricela Ruiz-Anaya from the U.S. Marshal's custody into the custody of the

             United States Bureau of Immigration and Customs Enforcement under that

             agency's detainers on these witnesses; and

      3.     The Clerk’s Office is ordered to provide the U.S, Marshal with a certified copy

             of this order.

      DATED this 22nd day of June, 2009.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
